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          IN THE UNITED STATES DISTRICT COURT FOR THE

                      EASTERN DISTRICT OF VIRGINIA

                               Alexandria Division


 UNITED STATES OF AMERICA

                                                     CASE NO. 1:19-
                                                     Pentagon Docket
                                                     August 15, 2019
 SEAN A. KEENAN,

                       Defendant.



                                  CRIMINAL INFORMATION
                           (Count I Class B Misdemeanor - 7193541)

        THE UNITED STATES ATTORNEY CHARGES THAT:

        On or about May 28,2019, on the Pentagon Reservation, in the Eastern District of

 Virginia, the Defendant, SEAN A. KEENAN,did knowingly, wilfully and unlawfully

 park a motor vehicle on the Pentagon Reservation after his parking privileges had been

 administratively suspended by the Pentagon Parking Control Office for a period ofone

 year due to excessive accumulation of parking infractions.

        (In violation of Title 32, Code of Federal Regulations, Part §234.18).
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